Case No. 1:14-cv-02839-RM-MEH Document 219 filed 10/16/17 USDC Colorado pg 1 of 5




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

   Civil Action No. 14-cv-02839-RM-NYW

   DAKOTA STATION II CONDOMINIUM ASSOCIATION, INC.,
   a Colorado nonprofit corporation

   Plaintiff and Counterclaim Defendant,

   vs.

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Defendant and Counterclaimant,

   And

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Third Party Plaintiff,

   vs.

   SCOTT BENGLEN, CLAIM SOLUTIONS, LLC, a Colorado company, SUSAN CWIK,
   GUNBARREL WEST REAL ESTATE COMPANY, a Colorado corporation d/b/a Countryside
   Asset Management Corporation and Haven Property Managers & Advisors,

   Third Party Defendants.
   ______________________________________________________________________________

                    MOTION TO WITHDRAW AS COUNSEL OF RECORD
   ______________________________________________________________________________

           Ryan E. Nichols, pursuant to D.C.COLO.LAttyR 5(b), hereby submits his Motion to

   Withdraw as Counsel for Defendant Owners Insurance Company and, as grounds therefor, states

   as follows:
Case No. 1:14-cv-02839-RM-MEH Document 219 filed 10/16/17 USDC Colorado pg 2 of 5




                                       Certification of Conferral

          On October 11, 2017, the undersigned informed continuing counsel for Owners Insurance
   Company, counsel for Plaintiff Dakota Station II Homeowner’s Association, counsel for
   Defendants Susan Cwik and Gunbarrel West Real Estate Company, and counsel for Third-Party
   Defendants Scott Benglen and Claim Solutions, LLC, of the undersigned’s wish to withdraw and
   requested a response as to whether there were any objections. Counsel for Susan Cwik and
   Gunbarrel West Real Estate Company, as well as counsel for Third-Party Defendants Scott
   Benglen and Claim Solutions, LLC, have no objections to this motion.

                                AUTHORITIES AND ARGUMENT

          1.      Undersigned counsel moves this Court for an order permitting his withdrawal as

   counsel for Defendant Owners Insurance Company (“Owners”).

          2.      Undersigned counsel entered his appearance in this matter on behalf of Owners on

   August 21, 2015. See Entry of Appearance (Doc. No. 45).

          3.      Co-counsel for Defendant Owners, Karen H. Wheeler, has left the firm of

   Levy•Wheeler•Waters, P.C., and will continue her representation of Owners in this matter

   through her new firm of Wheeler Waters, P.C. Undersigned counsel is remaining with the firm

   of Levy•Wheeler•Waters, P.C. (now known as Levy Law, P.C.).

          4.      A copy of this motion is being served on opposing counsel, as well as Owners.

   See D.C.COLO.LAttyR 5(b).

          5.      Owners continues to be represented by counsel and has been advised that, as a

   corporate entity, it must act through counsel, and has further been advised that it is responsible

   for complying with all applicable deadlines.

          WHEREFORE, undersigned counsel respectfully requests that this Court enter an order

   granting his withdrawal from this case.



                                                  - 2 -
Case No. 1:14-cv-02839-RM-MEH Document 219 filed 10/16/17 USDC Colorado pg 3 of 5




        Dated this 16th day of October, 2017.

                                                Respectfully submitted,

                                                s/ Ryan E. Nichols
                                                Ryan E. Nichols
                                                LEVY•WHEELER•WATERS, P.C.
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                                                Attorney for Defendant




                                                - 3 -
Case No. 1:14-cv-02839-RM-MEH Document 219 filed 10/16/17 USDC Colorado pg 4 of 5




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

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   DAKOTA STATION II CONDOMINIUM ASSOCIATION, INC.,
   a Colorado nonprofit corporation

   Plaintiff and Counterclaim Defendant,

   vs.

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Defendant and Counterclaimant,

   And

   OWNERS INSURANCE COMPANY, a Michigan corporation,

   Third Party Plaintiff,

   vs.

   SCOTT BENGLEN, CLAIM SOLUTIONS, LLC, a Colorado company, SUSAN CWIK,
   GUNBARREL WEST REAL ESTATE COMPANY, a Colorado corporation d/b/a Countryside
   Asset Management Corporation and Haven Property Managers & Advisors,

   Third Party Defendants.
   ______________________________________________________________________________

                             CERTIFICATE OF SERVICE
   ______________________________________________________________________________

          I hereby certify that on October 16, 2017, I caused the foregoing MOTION TO
   WITHDRAW AS COUNSEL OF RECORD to be submitted to the Clerk of Court for filing and
   uploading to the CM/ECF system, which will send notification of such filing to the following e-
   mail address:

   Jonah G. Hunt, Esq.                             David J. Furtado, Esq.
   Christopher M. Drake, Esq.                      Dominick Ryals, Esq.



                                              - 4 -
Case No. 1:14-cv-02839-RM-MEH Document 219 filed 10/16/17 USDC Colorado pg 5 of 5




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                                                Gunbarrel Real Estate Company and Susan
   Attorneys for Owners Insurance Company       Cwik




                                            /s/ Ryan E. Nichols           _______________




                                            - 5 -
